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                             UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MAINE


R.C.F., a minor, by and through his           )
mother, DONNA ANDERSON,                       )
                                              )
       Plaintiff                              )
                                              )        Case No. 1:17-cv-000250
v.                                            )
                                              )
                                              )
RANGELEY LAKES HERITAGE                       )
TRUST, INC.,                                  )
                                              )
       Defendant                              )


                     DECLARATION OF KRISTIN L. AIELLO, ESQ.

       1.      I am the attorney for the Plaintiff, Donna Anderson, o/b/o of her minor son,

R.C.F. I swear and affirm the following:

       2.      On March 1, 2018, the funds payable to the minor have been deposited as

required by the Order Approving Minor’s Settlement, dated January 30, 2018.

       3.      The funds were deposited at the financial institution, Farmington-Skowhegan

Savings, Account Number 158550 S, in a special needs trust for the minor.

       4.      I certify that the Plaintiff, Donna Anderson, gave a copy of this Court’s Order

Approving Minor’s Settlement, dated January 30, 2018 to the financial institution.

       I declare under penalty of perjury that the foregoing is true and correct.

DATED: March 1, 2018                                          /s/Kristin L. Aiello
                                                              Kristin L. Aiello, Esq.
                                                              Disability Rights Maine
                                                              24 Stone Street, Suite 204
                                                              Augusta, ME 04330
                                                              (207) 626-2774
                                                              kaiello@drme.org
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                                CERTIFICATE OF SERVICE

       I hereby certify that on March 1, 2018, I electronically filed the foregoing Joint Stipulation

of Dismissal using the CM/ECF system which will send notice of electronic filing to parties and

counsel of record.

                                                             /s/ Kristin L. Aiello
                                                             Kristin L. Aiello
                                                             Disability Rights Maine
                                                             24 Stone Street, Suite 4
                                                             Augusta, ME 04330
                                                             (207) 626 2774
                                                             kaiello@drcme.org

                                                             Attorney for Plaintiff
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on March 1, 2018, I electronically filed the foregoing Declaration of

Kristin L. Aiello, Esq. using the CM/ECF system which will send notice of electronic filing to

parties and counsel of record.

                                                           /s/ Kristin L. Aiello
                                                           Kristin L. Aiello
                                                           Disability Rights Maine
                                                           24 Stone Street, Suite 4
                                                           Augusta, ME 04330
                                                           (207) 626 2774
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                                                           Attorney for Plaintiff
